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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA

               v.                                   Hon. Claire C. Cecchi

MATTHEW BRENT GOETTSCHE,                            CRIMINAL NO.: 19-cr-877-CCC
[DEFENDANT TWO],
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and
SILVIU CATALIN BALACI
                                             ,

                                            ORDER

       THIS MATTER, being before the Court upon Defendant Jobadiah Sinclair Weeks,

(“Defendant”) by and through his attorneys, Carlton Fields, for entry of an Order granting

Defendant’s Motion for Appeal, Review, and Revocation of Magistrate Judge’s Detention Order

and the Court having reviewed the submission, and for good cause shown;

       IT IS on this ________ day of June, 2020,

       ORDERED that Defendant shall be released with the following conditions:

  I.     Secured Bond – Mr. Weeks will post a bond in the amount of $1.8 million signed by
         Mr. Weeks, Stephanie Weeks (wife), Silence and Nat Weeks (mother and father), Brad
         Weeks (uncle), and collateralized by any property the Court accepts, including:
         1.    The family home in Arvada, Colorado (Nat and Silence Weeks)
         2.    The family log cabin in Buena Vista, Colorado (Nat and Silence Weeks)
         3.    The Sangre de Cristo Ranch in Coaldale, Colorado (Jobadiah Weeks)
         4.    A property in Clinton Washington (Brad Weeks)

 II.     Third-Party Custodian – Mr. Weeks will be released to the custody of his close friend
         Peter Gallic, who lives with his family in Far Hills, New Jersey.
III.     Home Detention – Mr. Weeks will be detained at Peter Gallic’s house in Far Hills.
IV.      GPS Monitoring – Mr. Weeks will wear a GPS device issued by Pretrial Services.

 V.      Third-Party Monitoring Service – Mr. Weeks will be subject to, and pay for, additional
         monitoring by Shadowtrack to ensure that he is at the detention location.



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 VI.      Travel Restrictions – Mr. Weeks’ travel will be restricted to the District of New Jersey,
          and to and from his lawyers’ offices in Manhattan.

VII.      Surrender of Passport – Mr. Weeks has already surrendered his passports and will not
          apply for a passport for the duration of this case. Mr. Weeks’ wife, Stephanie Weeks,
          will surrender her passport and her daughter’s passport for the duration of this case.
VIII.     Sale of Airplane/Aircraft Membership – Mr. Weeks has sold a turbo prop airplane in
          Peoria, IL, and surrendered his membership in JetSmarter, which provides access to
          aircraft, and will not purchase any airplane or access to airplanes for the duration of this
          case.
 IX.      Extradition Waivers – Mr. Weeks has executed and provided the Court with extradition
          waivers for Mexico and St. Kitts & Nevis.




                                                              Honorable Judge Claire C. Cecchi




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